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                                                                                              .....................................................................
                                                                                                        (Original Signature of Member)



                                                                    H. RES. ll
                               117TH CONGRESS
                                  1ST SESSION


                                   Establishing the Select Committee to Investigate the January 6th Attack
                                                         on the United States Capitol.




                                             IN THE HOUSE OF REPRESENTATIVES

                                   Ms. PELOSI submitted the following resolution; which was referred to the
                                            Committee on lllllllllllllll




                                                           RESOLUTION
                               Establishing the Select Committee to Investigate the January
                                         6th Attack on the United States Capitol.

                               Whereas January 6, 2021, was one of the darkest days of our
                                  democracy, during which insurrectionists attempted to
                                  impede Congress’s Constitutional mandate to validate the
                                  presidential election and launched an assault on the
                                  United States Capitol Complex that resulted in multiple
                                  deaths, physical harm to over 140 members of law en-
                                  forcement, and terror and trauma among staff, institu-
                                  tional employees, press, and Members;
                               Whereas on January 27, 2021, the Department of Homeland
                                  Security issued a National Terrorism Advisory System
                                  Bulletin that due to the ‘‘heightened threat environment

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                                       across the United States,’’ in which ‘‘[S]ome ideologi-
                                       cally-motivated violent extremists with objections to the
                                       exercise of governmental authority and the presidential
                                       transition, as well as other perceived grievances fueled by
                                       false narratives, could continue to mobilize to incite or
                                       commit violence.’’ The Bulletin also stated that—
                                            (1) ‘‘DHS is concerned these same drivers to vio-
                                       lence will remain through early 2021 and some DVEs
                                       [domestic violent extremists] may be emboldened by the
                                       January 6, 2021 breach of the U.S. Capitol Building in
                                       Washington, D.C. to target elected officials and govern-
                                       ment facilities.’’; and
                                            (2) ‘‘Threats of violence against critical infrastruc-
                                       ture, including the electric, telecommunications and
                                       healthcare sectors, increased in 2020 with violent extrem-
                                       ists citing misinformation and conspiracy theories about
                                       COVID–19 for their actions’’;
                               Whereas on September 24, 2020, Director of the Federal Bu-
                                  reau of Investigation Christopher Wray testified before
                                  the Committee on Homeland Security of the House of
                                  Representatives that—
                                        (1) ‘‘[T]he underlying drivers for domestic violent
                                  extremism – such as perceptions of government or law
                                  enforcement overreach, sociopolitical conditions, racism,
                                  anti-Semitism, Islamophobia, misogyny, and reactions to
                                  legislative actions – remain constant.’’;
                                        (2) ‘‘[W]ithin the domestic terrorism bucket cat-
                                  egory as a whole, racially-motivated violent extremism is,
                                  I think, the biggest bucket within the larger group. And
                                  within the racially-motivated violent extremists bucket,
                                  people subscribing to some kind of white supremacist-
                                  type ideology is certainly the biggest chunk of that.’’; and


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                                            (3) ‘‘More deaths were caused by DVEs than inter-
                                       national terrorists in recent years. In fact, 2019 was the
                                       deadliest year for domestic extremist violence since the
                                       Oklahoma City bombing in 1995’’;
                               Whereas on April 15, 2021, Michael Bolton, the Inspector
                                  General for the United States Capitol Police, testified to
                                  the Committee on House Administration of the House of
                                  Representatives that—
                                        (1) ‘‘The Department lacked adequate guidance for
                                  operational planning. USCP did not have policy and pro-
                                  cedures in place that communicated which personnel were
                                  responsible for operational planning, what type of oper-
                                  ational planning documents its personnel should prepare,
                                  nor when its personnel should prepare operational plan-
                                  ning documents.’’; and
                                        (2) ‘‘USCP failed to disseminate relevant informa-
                                  tion obtained from outside sources, lacked consensus on
                                  interpretation of threat analyses, and disseminated con-
                                  flicting intelligence information regarding planned events
                                  for January 6, 2021.’’; and
                               Whereas the security leadership of the Congress under-pre-
                                  pared for the events of January 6th, with United States
                                  Capitol Police Inspector General Michael Bolton testi-
                                  fying again on June 15, 2021, that—
                                       (1) ‘‘USCP did not have adequate policies and pro-
                                  cedures for FRU (First Responder Unit) defining its
                                  overall operations. Additionally, FRU lacked resources
                                  and training for properly completing its mission.’’;
                                       (2) ‘‘The Department did not have adequate policies
                                  and procedures for securing ballistic helmets and vests
                                  strategically stored around the Capitol Complex.’’; and



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                                            (3) ‘‘FRU did not have the proper resources to com-
                                       plete its mission.’’: Now, therefore, be it
                                 1              Resolved,
                                 2     SECTION 1. ESTABLISHMENT.

                                 3              There is hereby established the Select Committee to
                                 4 Investigate the January 6th Attack on the United States
                                 5 Capitol (hereinafter referred to as the ‘‘Select Com-
                                 6 mittee’’).
                                 7     SEC. 2. COMPOSITION.

                                 8              (a) APPOINTMENT OF MEMBERS.—The Speaker shall
                                 9 appoint 13 Members to the Select Committee, 5 of whom
                               10 shall be appointed after consultation with the minority
                               11 leader.
                               12               (b) DESIGNATION                      OF       CHAIR.—The Speaker shall
                               13 designate one Member to serve as chair of the Select Com-
                               14 mittee.
                               15               (c) VACANCIES.—Any vacancy in the Select Com-
                               16 mittee shall be filled in the same manner as the original
                               17 appointment.
                               18      SEC. 3. PURPOSES.

                               19               Consistent with the functions described in section 4,
                               20 the purposes of the Select Committee are the following:
                               21                         (1) To investigate and report upon the facts,
                               22               circumstances, and causes relating to the January 6,
                               23               2021, domestic terrorist attack upon the United
                               24               States Capitol Complex (hereafter referred to as the
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                                 1              ‘‘domestic terrorist attack on the Capitol’’) and re-
                                 2              lating to the interference with the peaceful transfer
                                 3              of power, including facts and causes relating to the
                                 4              preparedness and response of the United States
                                 5              Capitol Police and other Federal, State, and local
                                 6              law enforcement agencies in the National Capital
                                 7              Region and other instrumentalities of government,
                                 8              as well as the influencing factors that fomented such
                                 9              an attack on American representative democracy
                               10               while engaged in a constitutional process.
                               11                         (2) To examine and evaluate evidence developed
                               12               by relevant Federal, State, and local governmental
                               13               agencies regarding the facts and circumstances sur-
                               14               rounding the domestic terrorist attack on the Capitol
                               15               and targeted violence and domestic terrorism rel-
                               16               evant to such terrorist attack.
                               17                         (3) To build upon the investigations of other
                               18               entities and avoid unnecessary duplication of efforts
                               19               by reviewing the investigations, findings, conclu-
                               20               sions, and recommendations of other executive
                               21               branch, congressional, or independent bipartisan or
                               22               nonpartisan commission investigations into the do-
                               23               mestic terrorist attack on the Capitol, including in-
                               24               vestigations into influencing factors related to such
                               25               attack.


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                                 1     SEC. 4. FUNCTIONS.

                                 2              (a) FUNCTIONS.—The functions of the Select Com-
                                 3 mittee are to—
                                 4                        (1) investigate the facts, circumstances, and
                                 5              causes relating to the domestic terrorist attack on
                                 6              the Capitol, including facts and circumstances relat-
                                 7              ing to—
                                 8                                 (A) activities of intelligence agencies, law
                                 9                        enforcement agencies, and the Armed Forces,
                               10                         including with respect to intelligence collection,
                               11                         analysis, and dissemination and information
                               12                         sharing among the branches and other instru-
                               13                         mentalities of government;
                               14                                  (B) influencing factors that contributed to
                               15                         the domestic terrorist attack on the Capitol and
                               16                         how technology, including online platforms, fi-
                               17                         nancing, and malign foreign influence oper-
                               18                         ations and campaigns may have factored into
                               19                         the motivation, organization, and execution of
                               20                         the domestic terrorist attack on the Capitol;
                               21                         and
                               22                                  (C) other entities of the public and private
                               23                         sector as determined relevant by the Select
                               24                         Committee for such investigation;




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                                 1                        (2) identify, review, and evaluate the causes of
                                 2              and the lessons learned from the domestic terrorist
                                 3              attack on the Capitol regarding—
                                 4                                 (A) the command, control, and commu-
                                 5                        nications of the United States Capitol Police,
                                 6                        the Armed Forces, the National Guard, the
                                 7                        Metropolitan Police Department of the District
                                 8                        of Columbia, and other Federal, State, and
                                 9                        local law enforcement agencies in the National
                               10                         Capital Region on or before January 6, 2021;
                               11                                  (B) the structure, coordination, operational
                               12                         plans, policies, and procedures of the Federal
                               13                         Government, including as such relate to State
                               14                         and local governments and nongovernmental en-
                               15                         tities, and particularly with respect to detecting,
                               16                         preventing, preparing for, and responding to
                               17                         targeted violence and domestic terrorism;
                               18                                  (C) the structure, authorities, training,
                               19                         manpower utilization, equipment, operational
                               20                         planning, and use of force policies of the United
                               21                         States Capitol Police;
                               22                                  (D) the policies, protocols, processes, pro-
                               23                         cedures, and systems for the sharing of intel-
                               24                         ligence and other information by Federal, State,
                               25                         and local agencies with the United States Cap-


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                                 1                        itol Police, the Sergeants at Arms of the House
                                 2                        of Representatives and Senate, the Government
                                 3                        of the District of Columbia, including the Met-
                                 4                        ropolitan Police Department of the District of
                                 5                        Columbia, the National Guard, and other Fed-
                                 6                        eral, State, and local law enforcement agencies
                                 7                        in the National Capital Region on or before
                                 8                        January 6, 2021, and the related policies, pro-
                                 9                        tocols, processes, procedures, and systems for
                               10                         monitoring, assessing, disseminating, and act-
                               11                         ing on intelligence and other information, in-
                               12                         cluding elevating the security posture of the
                               13                         United States Capitol Complex, derived from
                               14                         instrumentalities of government, open sources,
                               15                         and online platforms; and
                               16                                  (E) the policies, protocols, processes, pro-
                               17                         cedures, and systems for interoperability be-
                               18                         tween the United States Capitol Police and the
                               19                         National Guard, the Metropolitan Police De-
                               20                         partment of the District of Columbia, and other
                               21                         Federal, State, and local law enforcement agen-
                               22                         cies in the National Capital Region on or before
                               23                         January 6, 2021; and
                               24                         (3) issue a final report to the House containing
                               25               such findings, conclusions, and recommendations for


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                                 1              corrective measures described in subsection (c) as it
                                 2              may deem necessary.
                                 3              (b) REPORTS.—
                                 4                        (1) INTERIM             REPORTS.—In               addition to the final
                                 5              report addressing the matters in subsection (a) and
                                 6              section 3, the Select Committee may report to the
                                 7              House or any committee of the House from time to
                                 8              time the results of its investigations, together with
                                 9              such detailed findings and legislative recommenda-
                               10               tions as it may deem advisable.
                               11                         (2) TREATMENT                       OF CLASSIFIED OR LAW EN-

                               12               FORCEMENT-SENSITIVE MATTER.—Any                                        report issued
                               13               by the Select Committee shall be issued in unclassi-
                               14               fied form but may include a classified annex, a law
                               15               enforcement-sensitive annex, or both.
                               16               (c) CORRECTIVE MEASURES DESCRIBED.—The cor-
                               17 rective measures described in this subsection may include
                               18 changes in law, policy, procedures, rules, or regulations
                               19 that could be taken—
                               20                         (1) to prevent future acts of violence, domestic
                               21               terrorism, and domestic violent extremism, including
                               22               acts targeted at American democratic institutions;
                               23                         (2) to improve the security posture of the
                               24               United States Capitol Complex while preserving ac-




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                                 1              cessibility of the Capitol Complex for all Americans;
                                 2              and
                                 3                        (3) to strengthen the security and resilience of
                                 4              the United States and American democratic institu-
                                 5              tions against violence, domestic terrorism, and do-
                                 6              mestic violent extremism.
                                 7              (d) NO MARKUP OF LEGISLATION PERMITTED.—The
                                 8 Select Committee may not hold a markup of legislation.
                                 9     SEC. 5. PROCEDURE.

                               10               (a) ACCESS              TO     INFORMATION FROM INTELLIGENCE
                               11 COMMUNITY.—Notwithstanding clause 3(m) of rule X of
                               12 the Rules of the House of Representatives, the Select
                               13 Committee is authorized to study the sources and methods
                               14 of entities described in clause 11(b)(1)(A) of rule X inso-
                               15 far as such study is related to the matters described in
                               16 sections 3 and 4.
                               17               (b) TREATMENT                     OF      CLASSIFIED INFORMATION.—
                               18 Clause 11(b)(4), clause 11(e), and the first sentence of
                               19 clause 11(f) of rule X of the Rules of the House of Rep-
                               20 resentatives shall apply to the Select Committee.
                               21               (c) APPLICABILITY                     OF     RULES GOVERNING PROCE-
                               22      DURES OF              COMMITTEES.—Rule XI of the Rules of the
                               23 House of Representatives shall apply to the Select Com-
                               24 mittee except as follows:




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                                 1                        (1) Clause 2(a) of rule XI shall not apply to the
                                 2              Select Committee.
                                 3                        (2) Clause 2(g)(2)(D) of rule XI shall apply to
                                 4              the Select Committee in the same manner as it ap-
                                 5              plies to the Permanent Select Committee on Intel-
                                 6              ligence.
                                 7                        (3) Pursuant to clause 2(h) of rule XI, two
                                 8              Members of the Select Committee shall constitute a
                                 9              quorum for taking testimony or receiving evidence
                               10               and one-third of the Members of the Select Com-
                               11               mittee shall constitute a quorum for taking any ac-
                               12               tion other than one for which the presence of a ma-
                               13               jority of the Select Committee is required.
                               14                         (4) The chair of the Select Committee may au-
                               15               thorize and issue subpoenas pursuant to clause 2(m)
                               16               of rule XI in the investigation and study conducted
                               17               pursuant to sections 3 and 4 of this resolution, in-
                               18               cluding for the purpose of taking depositions.
                               19                         (5) The chair of the Select Committee is au-
                               20               thorized to compel by subpoena the furnishing of in-
                               21               formation by interrogatory.
                               22                         (6)(A) The chair of the Select Committee, upon
                               23               consultation with the ranking minority member, may
                               24               order the taking of depositions, including pursuant
                               25               to subpoena, by a Member or counsel of the Select


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                                 1              Committee, in the same manner as a standing com-
                                 2              mittee pursuant to section 3(b)(1) of House Resolu-
                                 3              tion 8, One Hundred Seventeenth Congress.
                                 4                        (B) Depositions taken under the authority pre-
                                 5              scribed in this paragraph shall be governed by the
                                 6              procedures submitted by the chair of the Committee
                                 7              on Rules for printing in the Congressional Record on
                                 8              January 4, 2021.
                                 9                        (7) Subpoenas authorized pursuant to this reso-
                               10               lution may be signed by the chair of the Select Com-
                               11               mittee or a designee.
                               12                         (8) The chair of the Select Committee may,
                               13               after consultation with the ranking minority mem-
                               14               ber, recognize—
                               15                                  (A) Members of the Select Committee to
                               16                         question a witness for periods longer than five
                               17                         minutes              as     though            pursuant          to     clause
                               18                         2(j)(2)(B) of rule XI; and
                               19                                  (B) staff of the Select Committee to ques-
                               20                         tion a witness as though pursuant to clause
                               21                         2(j)(2)(C) of rule XI.
                               22                         (9) The chair of the Select Committee may
                               23               postpone further proceedings when a record vote is
                               24               ordered on questions referenced in clause 2(h)(4) of
                               25               rule XI, and may resume proceedings on such post-


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                                 1              poned questions at any time after reasonable notice.
                                 2              Notwithstanding any intervening order for the pre-
                                 3              vious question, an underlying proposition shall re-
                                 4              main subject to further debate or amendment to the
                                 5              same extent as when the question was postponed.
                                 6                        (10) The provisions of paragraphs (f)(1)
                                 7              through (f)(12) of clause 4 of rule XI shall apply to
                                 8              the Select Committee.
                                 9     SEC. 6. RECORDS; STAFF; TRAVEL; FUNDING.

                               10               (a) SHARING RECORDS                         OF        COMMITTEES.—Any com-
                               11 mittee of the House of Representatives having custody of
                               12 records in any form relating to the matters described in
                               13 sections 3 and 4 shall provide copies of such records to
                               14 the Select Committee not later than 14 days of the adop-
                               15 tion of this resolution or receipt of such records. Such
                               16 records shall become the records of the Select Committee.
                               17               (b) STAFF.—The appointment and the compensation
                               18 of staff for the Select Committee shall be subject to regu-
                               19 lations issued by the Committee on House Administration.
                               20               (c) DETAIL              OF     STAFF         OF       OTHER OFFICES.—Staff
                               21 of employing entities of the House or a joint committee
                               22 may be detailed to the Select Committee to carry out this
                               23 resolution and shall be deemed to be staff of the Select
                               24 Committee.




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                                 1              (d) USE             OF     CONSULTANTS PERMITTED.—Section
                                 2 202(i) of the Legislative Reorganization Act of 1946 (2
                                 3 U.S.C. 4301(i)) shall apply with respect to the Select
                                 4 Committee in the same manner as such section applies
                                 5 with respect to a standing committee of the House of Rep-
                                 6 resentatives.
                                 7              (e) TRAVEL.—Clauses 8(a), (b), and (c) of rule X of
                                 8 the Rules of the House of Representatives shall apply to
                                 9 the Select Committee.
                               10               (f) FUNDING; PAYMENTS.—There shall be paid out
                               11 of the applicable accounts of the House of Representatives
                               12 such sums as may be necessary for the expenses of the
                               13 Select Committee. Such payments shall be made on vouch-
                               14 ers signed by the chair of the Select Committee and ap-
                               15 proved in the manner directed by the Committee on House
                               16 Administration. Amounts made available under this sub-
                               17 section shall be expended in accordance with regulations
                               18 prescribed by the Committee on House Administration.
                               19      SEC. 7. TERMINATION AND DISPOSITION OF RECORDS.

                               20               (a) TERMINATION.—The Select Committee shall ter-
                               21 minate 30 days after filing the final report under section
                               22 4.
                               23               (b) DISPOSITION                   OF      RECORDS.—Upon termination
                               24 of the Select Committee—




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                                 1                        (1) the records of the Select Committee shall
                                 2              become the records of such committee or committees
                                 3              designated by the Speaker; and
                                 4                        (2) the copies of records provided to the Select
                                 5              Committee by a committee of the House under sec-
                                 6              tion 6(a) shall be returned to the committee.




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